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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

DAKOTA HOLT,                           )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. 4:21-cv-00048-WMR
RPIH, LLC,                             )
                                       )
      Defendant.                       )

       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH
                          PREJUDICE

      COMES NOW, Dakota Holt, Plaintiff in the above-styled civil action, by and

through the undersigned counsel of record, and files this, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), his Notice of Voluntary Dismissal With Prejudice. Plaintiff hereby

requests that the instant matter be dismissed with prejudice, and without an award

of fees or costs to either party.

                                       Dated: April 14, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
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                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

                         CERTIFICATE OF SERVICE

      I certify that on April 14, 2021, I filed the within and foregoing Notice of

Voluntary Dismissal With Prejudice using the CM/ECF System for the federal

District Court for the Northern District of Georgia. A true and correct copy of the

same will also be served via electronic mail as follows:

Harry B. White, Esq.
White & Choate, LLC
100 West Cherokee Avenue
Cartersville, Georgia 30120
Fax: (770) 382-1210
hwhite@wcwattorneys.com

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




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